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                     Exhibit M: Unsigned
                   Declaration of Witholding
                            Witness




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 1                            DECLARATION OF RICHARD ALBERTINI
 2
     STATE OF CALIFORNIA   )
 3                         ) SS:
     COUNTY OF LOS ANGELES )
 4
     Richard Albertini, being duly sworn, deposes and says:
 5

 6   I am a Witness in the matters of Case 5:24-cv-01930-TJH-DTB (Taft v. Paul Barresi, Adam R.
     Waldman, and Does 1-10), currently pending in the U.S. District Court of the Central District of
 7
     California.
 8
     I am above the age of 18 and reside in California. At the time of these events, I have repeatedly
 9
     changed my residency, and primarily resided in California and South Carolina.
10

11   The facts stated in this affidavit are true and correct to the best of my knowledge and belief.
     I have personal knowledge of the facts stated herein, except for those stated upon information
12   and belief, and as to those, I believe them to be true.
13
     I am competent to testify as the facts stated herein in a court of law and will so testify if called
14
     upon.
15
                                                Relevant Facts
16
     1. I am a Witness and I have observed events of the Viper Room and assaults that Johnny Depp
17
     did to men and women. I have a witness list of approximately over 20 witnesses, that includes
18   numerous named individuals involved in the Viper Room nightclub.
19
     2. Approximately July to September, I discussed with Plaintiff Taft, who I have known since
20   May 2022, the friendships I had in the Viper Room and afterwards with Chris Stanco, Bruce
21   Witkin, Tracy Jacobs, Bruce Corkum, and others related to these social circles. I continued to
     know Johnny's circle of friends for decades after employment at the Viper Room nightclub.
22

23   3. I have information as to how Paul Barresi started using the tapes to coerce individuals,
     including myself, and Adam Waldman facilitated with knowing the danger increasing,
24
     continually, to reward and direct him. This is continuous and ongoing into 2024.
25
     4. Defendants Barresi and Waldman continue to use the audio tape of me and potential
26
     witness Ed Shaw and other audio recordings to prevent witness testimonies into 2024.
27

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 1   5. Between May 2022 to August 2022, Plaintiff Taft verified that I was a witness and I am a
 2
     key witness that wanted to testify. In my knowledge and observation, Defendants Barresi and
     Waldman aggressively suppressed me, other witnesses, and Plaintiff.
 3

 4   6. I was first intimidated by Defendant Paul Barresi when I wanted to testify against Johnny
     Depp, who I was friends with. Approximately 1992 I became friends with Ricky Beck Mahler
 5   and Isaac Baruch.
 6
     7. Through Ricky and Isaac I was introduced to Johnny and to work at the Viper Room
 7
     Nightclub in West Hollywood beginning in 1993. I have knowledge of former friends of Depp,
 8   Isaac Baruch, Ricky Beck Mahler, Paul Schindler, and Robert Pfeiffer.
 9
     8. In April 2019, I was a cooperating witness to testify for Amber Heard through the Law Firm
10   of Browne George Ross LLP, whose lawyers had her as a client. For months, I was still a witness
     against Johnny Depp.
11

12   9. I communicated to Plaintiff Taft what had happened to me which caused me to withhold my
13   testimony and information from Heard’s case against Johnny Depp. Defendants threatened me,
     corruptly persuaded and deceived me.
14

15   10. I introduced Plaintiff Taft to Claudia Jamison in July 2022 who was from the Viper Room
     nightclub and had moved to New York and was my ex-girlfriend. She tried to open up Bruce
16
     Corkum and Jack the bartender to being open to speaking.
17
     11. I was interviewed by Plaintiff Taft with all of my witnessing related to me wanting to
18
     testify. I witnessed Taft be intimidated by Defendants for this.
19
     12. I have witnessed and have personal knowledge Johnny screams and yells at people, and
20
     punches holes in the walls. I saw him put cigarettes out on people, throw coffee cups and beer
21   bottles at people, and verbally assault practically everyone around him.
22
     13. I was an eye witness to how aggressive and violent Johnny Depp can get, as the time he
23   got violently abusive, pulled her hair back, put a cigarette out on Stacy Lee Lopez’s head when
24   she was dancing with Kate Moss. I observed Kate Moss pushed by Johnny Depp before Depp
     attacked Stacy. I saw my friend Paul Schindler pull Stacy Lee Lopez away from Johnny Depp.
25
     Schindler was dating Stacy’s friend Nina.
26
     14. I have knowledge of how Johnny Depp would start talks with individuals and then Paul
27
     Schindler would jump on the person and drag them outside.
28                                             PAGE 2 OF 10




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 1

 2
     15. I know that Amber Heard had a case that she was assaulted by Johnny Depp.

 3   16. At the time, Richard Schwartz was speaking with witnesses who wanted to testify for his
 4   client Heard’s litigation. I told him immediately that Johnny Depp put the cigarette out on a
     model, Stacy Lee Lopez in an attempt to discuss how dangerous Johnny Depp is. I spoke to
 5   Schwartz about Anthony Fox.
 6
     17. I observed Johnny Depp threaten to kill Paul Schindler for pulling Stacy out of his way
 7
     and how he got violent punching holes in the walls.
 8
     18. I have knowledge of how Sal Jenco spoke with Seven McDonald to make this story go
 9
     away so no corporations or modeling agencies knew to dry up the pool of models. I have
10   knowledge of Johnny Depp drinking and using and is under the influence.
11
     19.   I was then intimidated by Defendant Paul Barresi, after wanting to testify against Depp.
12

13   20. In July 2019, Barresi started to intimidate me, and coerced me into giving him an audio
     recording with Big Ed Shaw of the Viper Room. Big Ed Shaw was a friend of mine. Barresi
14   starting using the tape and blackmailing me.
15
     21. I’ve been damaged by Barresi. I gave him many names of friends and former employees of
16
     the Viper Room to be witnesses. I didn’t want him to intimidate them or for Waldman to
17   conspire with Barresi.

18
     22. I told him a friend of mine, Paul Schindler, admitted to me that he killed missing co-owner
19   Fox and I didn’t want to tell the tabloids that Johnny had anything to do with it. Barresi
     threatened me to release the audio tape of me with Ed Shaw with edits.
20

21   23. I wanted to testify on assaults and abuse of women and men that I saw Johnny do. I told Ed
22
     Shaw that Schindler was dangerous, that Bob Pfeiffer wanted to use Schindler as a hitman
     against his wife Maria. Ed Shaw agreed with me that he was violent in his observations. I asked
23   Ed Shaw if he knew if Schindler took out/killed Anthony Fox. Defendant Barresi took this tape
24   and coerced us with this tape to never again testify.

25
     24. Barresi told me he killed Shalimar Seuli, who wanted to testify. He texted me and
26   confessed to me. He admitted an individual ended up dead, one who would not recant about a
     celebrity.
27

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 1   25. 2019 ongoing, I told other potential witnesses that there’s a hitman, defendant Barresi, put
 2
     after me for being a witness against Johnny Depp.

 3   26. I have information and knowledge that Defendant Barresi being and/or acting as a hitman.
 4   Barresi told me he was a hitman in his conduct, behavior, and his fascination with death of
     potential witnesses.
 5

 6   27. After a restraining order was filed on Mr. Barresi he started looking for our location.

 7
     28. I fear for my life and I have been afraid of my location being found, hence it caused me to
 8   move multiple times.
 9
     29. I told Defendant Adam Waldman about the audio tape and that Barresi is a hitman that
10   worked with Pellicano and at first I believed Johnny’s lawyer would assist me.
11
     30.   Adam told me witnesses would call him after Barresi intimidated them.
12

13   31. Adam Waldman did a deal with Barresi approximately in 2020. I have knowledge that Mr.
     Waldman and Mr. Barresi had financial negotiations and a “Deal.”
14

15   32. I warned Johnny’s counsel Ben Chew. Barresi kept lying to me that he wasn’t doing this
     for Johnny so that I would never testify.
16

17   33. Barriesi threatened to shoot me during the trial of Depp v Heard so I wouldn’t testify at all.

18
     34. Adam Waldman was communicating with Barresi to silence me from testifying, which led
19   me to file a police report. I have observed documentation of their communications to stop me
     from testifying against Depp.
20

21   35. In July 2022, I reported that Waldman had financial transactions with Barresi to “fix” for
22
     Depp. I reported to the FBI and there were FBI agents assigned to the first South Carolina police
     report.
23

24   36. I have knowledge that Paul Schindler confessed to killing missing co-owner Fox and
     bragged about it.
25

26   37. I witnessed Paul Schindler crack someone's head open with a 357 magnum because the guy
     was bothering Johnny and Johnny asked Paul to handle it.
27

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 1   38. I observed that Johnny Depp would send Paul Schindler to handle matters for him.
 2
     39. I have knowledge that Paul's job was to handle matters that Johnny and the nightclub did
 3   not want to get sued for. I witnessed Paul hurting individuals in order to handle matters at the
 4   Viper Room for Depp. I know that Paul was paid cash on purpose and was not on payroll so that
     it can allow him to handle all these matters for Johnny Depp, going unnoticed.
 5

 6   40. Bob Pfeiffer was friends with Johnny Depp and was Alice Cooper’s Manager. I know that
     my former friend Bob Pfeiffer, President of Hollywood Records, hired Anthony Pellicano to
 7
     collect and use audio recordings of a woman, Maria. I have knowledge of when she wanted to
 8   leave Bob, he threatened to kill her. He then invited Paul Schindler and Michael Dewey and
     wanted them to kill Maria. I have knowledge that Paul and Michael both said yes to the request.
 9

10   41. I witnessed Mickey Rourke ask Paul Schindler if he would kill Christian Slater and Carre
     Otis. Paul was ready to do it. I witnessed individuals go to Paul Schindler when they wanted to
11
     ask him to kill someone for them.
12

13   42. I have knowledge that my friends Bob Pfeiffer and David Nicherie used Pellicano, who
     worked with Defendant Barresi, to harm people both in business and in their relationships. The
14   federal government had me be a witness and informant. Barresi took information from Bert
15   Field’s Office against the lawyer’s client Shafir to Nicherie.

16
     43. I have knowledge that Defendant Barresi was put after me for being a witness against
17   Johnny Depp. I have knowledge of how Barresi intimidated witnesses.

18
     44. I have knowledge of how many individuals were intimidated by Defendant Paul Barresi
19   and Defendant Adam Waldman.
20
     45. I observed other notes by Barresi of me when I was a cooperating witness where my
21   statements were changed, including those with potential criminal and civil liabilities.
22
     46. I have observed Defendant Paul Barresi constantly embellishing and changing statements.
23

24   47. I have knowledge of how several individuals wanted to put Johnny in rehab, but they dont
     due to him being the one who pays everyone's bills.
25

26   48. Ray O’Hagen has been missing, he disappeared for a while. He was Johnny Depp’s
     sponsor in Alcoholics Anonymous.
27

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 1   49. I know Johnny Depp sends bouncers on people to intimidate them and for other means.
 2
     50. My friend Bruce Corkum and former assistant of Depp got angry at me after I was
 3   intimidated by Barresi and I started to say things for Johnny. Bruce wanted me to be a witness
 4   against Depp.

 5   51. I know Johnny Depp hired an attorney to handle the embezzlement allegations against Sal
 6   Jenco in ownership of the Viper Room.

 7
     52. I have information from Adam Waldman that Richard Schwartz and Eric George wanted to
 8   be disconnected from ties to Barresi.
 9
     53. I have information of how Paul Barresi contacted Jalee Carter - who knew Donna from the
10   modeling circuits and brought Donna to stay at the house. Bobby Pastorelli was Jalee’s husband.
     I have knowledge that Donna wanted to meet Johnny again and in order to see Johnny again she
11
     had to do sexually lewd acts to his friends in order to see Johnny again.
12

13   54. I have seen Johnny Depp push Donna after saying they’re both from Kentucky and Johnny
     then had Ed Shaw mangle and physically abuse Donna and throw her out of the club.
14

15   55. Paul Barresi brought up Jalee Carter and then intimidated Plaintiff and I for wanting to re-
     interview her.
16

17   56. I have knowledge of individuals in the film business that end up recanting their stories due
     to Paul Barresi.
18

19   57. I have information as to how Paul Schindler had a list of names for kill, Schindler’s list,
     which included a list of names that are for kill that will be claimed as death by suicide. Schindler
20
     had a tattoo ‘Johnny Depp Til Death.’
21

22
     58. Paul Schindler had an inheritance and he wanted to hire a hitman to be at his funeral to kill
     Johnny, Ricky, Isaac, and Sal. He was angry at Johnny for ignoring him. Johnny wore a skull
23   ring that represented ‘Death Is Certain.’
24
     59. I have knowledge that other bodyguards and individuals such as Hunter who worked for
25
     Leonardo DiCaprio are also trained to stay out of situations no matter what they witness or see.
26   Schindler was hired to be Leonardo’s bodyguard in Mexico and he was fired.

27

28                                              PAGE 6 OF 10




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 1   60. I have information how Johnny Depp had Paul Schindler work off books to do threats, or
 2
     coercive acts to individuals, and used Schindler until he was done doing so.

 3   61.   I have knowledge that Barresi used a check to pay Olivia Barash.
 4
     62. I observed many people in the Viper Room, including Maria McKee, friend Seven
 5   McDonald, Hunter Thompson, Aileen Getty, Josh Richmond, Brent Bolthouse, Jennifer Akari,
 6   Olivia, Chris, Ricky Beck Mahler.

 7
     63. There were children who were in the Viper Room. Alan Ginsburg, to my belief, was there
 8   to look for children.
 9
     64. I have seen Eileen Grund being underage, at the Viper Room, being used.
10
     65. I witnessed Carre’s face bruised outside the Viper Room one night.
11

12   66. I observed that Johnny Depp used art and guitars with Ricky Beck Mahler, and other
13   overpriced items, to hide his assets by transferring worth to his friends. I have knowledge that
     my former friend Ricky has the stock corp Chud King Inc, that in my belief is a shell corp, and
14   another associate owns The Wolves business in downtown Los Angeles. I told Plaintiff that Isaac
15   Baruch’s house on Sweetzer given by Johnny used to be Betty Sue's house. I've been to the
     Eastern Columbia loft for dinner although Amber was not there.
16

17   67. I observed that the Viper Room had additional fake names on the payroll like Joey
     Woodpecker to increase our pay, and this got the club into tax trouble, that was paid off by
18
     Johnny. I observed ways of more sophisticated money laundering later in life.
19
     68. I have information on how Johnny Depp fabricated that Bruce Witkin, Tracy Jacobs, and
20
     Peter Nichols embezzled and stole his money.
21

22
     69. I have information as to how Johnny Depp uses individuals to his benefit, who will do what
     he says and who will keep his secrets, and how he gets rid of them once he finalizes using that
23   individual.
24
     70. I witnessed Johnny being abusive to his girlfriends, yelling, screaming threats towards
25
     them.
26
     71. I witnessed Johnny get violent and hit men.
27

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 1   72. I have knowledge of how fixers, publicists and lawyers determine outcomes.
 2
     73. I have knowledge of how individuals turn on others due to nepotism, and bribery, such as
 3   setting people up with their own nightclubs to own or manage.
 4
     74. I have knowledge that Johnny Depp required women to perform lewd acts or have sexual
 5   intercourse with Big Ed Shaw before Johnny allows the women to talk to him or accompany
 6   him.

 7
     75. I observed that Chris Jenco is afraid of Johnny Depp and to his belief, he feared that
 8   Johnny Depp tried to have Big Ed Shaw killed because he knew too much, and knew that Big Ed
     Shaw was going to start talking. Big Ed Shaw was in an accident which left him a quadrapalegic
 9
     a couple years later. Johnny gave payments to Ed Shaw for years after the accident until
10   allegations of his friends stealing.
11
     76. I believe Paul Schindler killed his best friend, he was arrested for killing him but due to
12   extenuating circumstances he got out of the case and no charges filed, claimed it was an
13   accident.

14   77. I have information as to how Paul Schindler was Johnny Depp's personal assistant and
15   worked as his bodyguard at the Viper Room, and he took credit that he killed Anthony Fox.

16
     78. I witnessed Paul Schindler pull out his gun and take two shots at an individual.
17
     79. I have knowledge that Barresi denied, when he approached me when I was a witness to
18
     testify against Johnny Depp, of him knowing Marty Singer, which I know was a lie.
19
     80. A few days after that, I was allegedly offered money from Barresi where he claimed the
20
     money would come from Marty Singer, to go bribe a cop about evidence from Shalimar’s death.
21

22
     81. I witnessed Barresi was trying to make me look inconsistent when he falsified information
     to others about what I actually said.
23

24   82. In my observation, Ricky and Isaac knew that Johnny needed rehab and he was self-
     destructive. I had been invited to the engagement party for Johnny and Amber, and I did not
25
     attend. Back then my social circles, including inner circles of Johnny’s, had nothing bad to say
26   about Amber prior to the lawsuit involving Adam Waldman, as Johnny’s attorney. When they
     were first dating or when they first came around the time of the engagement party, everybody
27
     loved her; and the friends were not complaining about Amber until after the separation.
28                                              PAGE 8 OF 10




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 1

 2
      83. I explained to Plaintiff Taft about my knowledge of a night of violence against Amber that
      my friends knew of that happened in the Eastern Columbia building and about the scene that
 3    Isaac kept claiming about.
 4
      84. I have many additional observations on my former friend Isaac Baruch, some observations
 5    that I unfortunately told Defendant Paul Barresi who then exploited the information.
 6
      85. I have witnessed Barresi do death threats to Ms. Taft and that she shouldn't be alive.
 7

 8    86. I was and still am afraid for the life of Plaintiff Taft and Amber Heard’s life.
 9
      87. I have also been afraid for my own life since 2022 onward while observing the escalations
 10   between Defendants Barresi and Waldman. I nearly lost my life in October of 2022 from Barresi
      and Waldman during the time Barresi stated I was “dead silent” and should not have “air.”
 11

 12   88. During my interviews with Ms. Taft, I told her all my observations and everything I
 13   witnessed with Johnny Depp, Paul Barresi and Adam Waldman.

 14   89. I would have attested for other cases against Johnny Depp, not only in Amber Heard’s
 15   Case. Rocky Brooks was another case. I told his lawyer Pat Harris, I would testify for him and
      additional witnessing that I saw relevant to violence from Depp and film sets.
 16

 17   90. Into 2024, Mr. Barresi regularly contacts me to make me withhold my testimony as being a
      witness against Mr. Depp, and wanted me to not have accurate interviews by the Department of
 18
      Consumer Affairs, and to no longer report to the FBI.
 19
      91. To this day, Barresi intimidates me and told me to “Go get that bitch” about Plaintiff Taft.
 20

 21   92. To this day, Barresi continues to contact me, call me, and to intimidate me and Plaintiff
 22
      Taft.

 23       I attest that lines 53, 54, 55, 56, 57, 58, 59, 60, 61, 62, 63, 70, 72, 81, 82, 83, 84, 85, 86, 87,
 24   88, 89, 90, 91, 92, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104, 105, 106, 107, 109, 110, 111,
      112, 116, 117, 120, 126, 127, 128, 129, 130, 131, 132, 133, 134, 135, 136, 137, 138, 139, 140,
 25
      141, 143, 149, 152, 153, 164, 168, 172, 184, 187, 193, 207, 215, 216, 218, 219, 220, 229, 235,
 26   240, 258, 269, 307, 308, 311, 312, 315, 326, 334, 335, 336, 344, 345, 348, 359, 371, 395, 397,
      412, 433,540, and 542, and I attest to all the footnotes referencing my witnessing in the lawsuit
 27
      of Plaintiff Taft are true and correct.
 28                                                PAGE 9 OF 10




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 1

 2
          I have additional knowledge and information I can declare and attest to, inclusive of
      defendants ongoing activities. I assert that I can provide said evidence to the facts stated above.
 3

 4       I, Richard Albertini, as a declaring witness to testify if so called upon, do hereby declare
      under penalty of perjury that the information provided herein is true and accurate to the best of
 5    my knowledge. This declaration has been verified and is made in good faith.
 6

 7    DATED this ___ day of ________, 2024.
 8

 9

 10   Signed: ____________________________
      Name: Richard Albertini
 11

 12

 13
      SUBSCRIBED and SWORN to before me
 14
      this ________________ of ________________ , 2024.
 15

 16

 17

 18

 19
      ___________________________
 20
      NOTARY PUBLIC in and for said State,
 21   in the United States of America
      OFFICIAL SEAL
 22

 23

 24

 25

 26

 27

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                EXHIBIT N: VIOLATION OF
                  CALIFORNIA'S STAND
                   AGAINST NDAs ACT




                                                                    EXHIBIT N
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                                                                  ID #:782
        Gmail                                                                                                   Christina Taft <taftchristina.ceo@gmail.com>



Taft v. Barresi, et al. (Case No. 5:24-cv-01930)
Christina Taft <taftchristina.ceo@gmail.com>
To: Melissa Lerner <mlerner@lavelysinger.com>
Cc: Lucy Hanna <legalstructureconsulting@gmail.com>, Mel Sue H <melodyesue@gmail.com>, "ceo.taft@rescue-social.com" <ceo.taft@rescue-social.com>, "
<taft.christina@yahoo.com>, Roya Hassas <rhassas@lavelysinger.com>, Max Fabricant <mfabricant@lavelysinger.com>

  Ms. Lerner:

  For the Judge's Consideration, Exception (b) - The Answer is "No" to these demands

 The demand to "withdraw any complaints or reports made with any other authority or agency" violates statutes:

        • California Code of Civil Procedure§ 1001 and Stand Against NDAs SB 331 : Prohibits agreements or actions aimed at silencing individuals from
        • Federal Whistleblower Protection Laws: Protect individuals from retaliation when reporting illegal activity to federal agencies.

 To Lavely & Singer - In consideration of former clients of law firms that may report against 'fixers' and witnesses reporting:

     • During Defendant Waldman and Defendant Barresi escalating attacks against Plaintiff Taft and reporting witnesses, a very crucial redaction of a former
     • Former clients and attached clients of Barresi can be exploited and intimidated, including to not report him to authorities, and to be silenced
       forceful attachment by Defendant Barresi obstructs investigations and from stopping his exploitation.
     • A 10 year old, 2006 article from ABC reported that "Barresi collected dirt on Sylvester Stallone" (while still claiming to 'work' for him) was redacted.
           o "Barresi said that Pellicano hired him to "get dirt on" Sylvester Stallone" (original report from 2006 retrieved in early 2022) the repor
              exploitation with no notation of redaction (2022 redacted onward) .

 Violation of 2022 California Law on No NDAs Silencing Criminal or Unlawful Conduct

        • Law Violation, California's Stand Against Non-Disclosure Agreements Act (SB 331)., effective Janua['L.1, 2022,. prohibits c,
          settlement agreements that prevent the disclosure of information about unlawful acts, including harassment, discri11
          behavior.
                  o   California Code of Civil Procedure § 1001. Protects whistleblowers and victims from being silenced about unlawful activitie

 Violation of Rule 3.10 of California Bar Association Codes of Conduct:

     • Rule 3.10: Lawyers are prohibited from threatening criminal , administrative, or disciplinary charges solelv. to obtain an advantage in ,
        In violation of Rule 3.10, the 3 years licensed Max Fabricant escalated to threaten after repeatedly calling and text me
        Florida Melodye Haynes for allegedly Writing/Editing legal pleadings of Plaintiff, for providing legal consulting to Plaintiff, and for Ha-,
        comply to settle (accompanying violation of the 2022 California Law that confidentiality agreements cannot stop reporting unlawful activity).
        https:llapps.calbar.ca.govlattorney/Licensee/Detail/333859
            o Attached Two Exhibits of Text Messages
            o After Plaintiff already wrote there was no authorization to contact Haynes


  Federal Authorities Encourage Court Access and Equal Protection:

     • FBI agent Greg suggested that a lawsuit would be helpful at our interview.
     • Reports under oath cannot be revoked and my lawsuit is under oath to prevent revocation
     • Plaintiff Keeps Rights and Rule of Law from the Federal US Law against witness, victim, and informant tampering.

 Intimidation or Threats by Lawyers - Potential Violations:

     • 18 U.S.C. § 1512 (Witness Tampering): Includes intimidating or threatening witnesses to prevent lawful reporting or participation in legal proceedings.
     • California Penal Code § 136.1: Criminalizes preventing or dissuading a witness or victim from making a report to law enforcement or other authorities.
     • Threatening civil, administrative, or criminal consequences to discourage complaints violates California Rule of Professional Conduct 3.10.


 You should tell your supervisor, Marty Singer.


     • (b) Exceptions. The court may admit this evidence for another purpose, such as proving a witness's bias or prejudice, negating a con
        an effort to obstruct a criminal investigation or prosecution.


 Regards,
 Christina Tait

 Founder & Entrepreneur I Innovator I Egalitarian, Humanitarian, American
 Linkedln


 On Tue, Nov 26, 2024 at 7:01 PM Melissa Lerner <mlerner@lavelysinger.com> wrote:

    CONFIDENTIAL AND PRIVILEGED SETTLEMENT COMMUNICATION (FRE 408)


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